Case: 1:17-md-02804-DAP Doc #: 3555-19 Filed: 11/13/20 1 of 7. PageID #: 505691




                      EXHIBIT 18
Case: 1:17-md-02804-DAP Doc #: 3555-19 Filed: 11/13/20 2 of 7. PageID #: 505692
Case: 1:17-md-02804-DAP Doc #: 3555-19 Filed: 11/13/20 3 of 7. PageID #: 505693
Case: 1:17-md-02804-DAP Doc #: 3555-19 Filed: 11/13/20 4 of 7. PageID #: 505694
Case: 1:17-md-02804-DAP Doc #: 3555-19 Filed: 11/13/20 5 of 7. PageID #: 505695
Case: 1:17-md-02804-DAP Doc #: 3555-19 Filed: 11/13/20 6 of 7. PageID #: 505696
Case: 1:17-md-02804-DAP Doc #: 3555-19 Filed: 11/13/20 7 of 7. PageID #: 505697
